                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 2:11-00002
                                                  )      Judge Trauger
                                                  )
[21] TIFFANY BROOK NORRIS                         )

                                         ORDER

       It is hereby ORDERED that a hearing shall be held on Wednesday, March 19, 2014, at

2:00 p.m. on the Superseding Petition to Revoke Supervision (Docket No. 1601).

       It is so ORDERED.

       ENTER this 11th day of March 2014.


                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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